       Case 2:03-cr-00376-DLJ Document 42 Filed 03/17/06 Page 1 of 2

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 5   Attorneys for Defendant
     FRANCES MORADA
 6

 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      CASE NO. S-03-376-DFL

12                                                  STIPULATION AND PROPOSED
                 Plaintiff,                         ORDER REGARDING
13                                                  CONTINUANCE OF STATUS
           vs.                                      CONFERENCE
14
     FRANCES MORADA,
15   LILY MIZRAHE

16               Defendants.
                                            /
17
           Defendant Frances Morada, through her counsel of record, Malcolm Segal,
18
     and Defendant Lily Mizrahe, through her counsel of record, Bruce Locke, and
19
     Plaintiff United States of America, through its counsel, Assistant United States
20
     Attorney John Vincent, agree and stipulate that the status conference set for March
21
     16, 2006 may be continued to May 11, 2006 at 10:00 AM, in order to permit the
22
     parties to further investigate, review and discuss the case regarding future
23
     proceedings, and to permit the defendants the opportunity to complete interviews
24
     required in connection with a deferred prosecution agreement. This case continues
25
     to be complex within the meaning of the Speedy Trial Act due to the volume of
26
     discovery, complexity of the legal and factual issues, and the need of counsel to
27
     conduct independent investigations.
28

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       Case 2:03-cr-00376-DLJ Document 42 Filed 03/17/06 Page 2 of 2

 1         Accordingly, the time between the scheduled court appearance on March 16,

 2   2006, and the status conference on May 11, 2006 should continue to be excluded

 3   from the calculation of time pursuant to the Speedy Trial Act, due to complexity and

 4   counsels’ need to prepare. 18 U.S.C. §3161 (h) (8) (B) (ii) and (iv) [Local Codes

 5   T2/T4].

 6

 7   Dated: March 10, 2006                     SEGAL & KIRBY

 8

 9
                                           By: /s/ Malcolm S. Segal
10                                            MALCOLM S. SEGAL
                                              Counsel for Defendant Frances Morada
11

12

13   Dated: March 10, 2006              MOSS & LOCKE

14

15
                                           By: /s/ Bruce Locke
16                                            BRUCE LOCKE
                                              Counsel for Defendant Lily Mizrahe
17

18

19   Dated: March 10, 2006

20
                                           By: /s/ John Vincent
21                                            JOHN VINCENT
                                              Assistant United States Attorney
22

23   IT IS SO ORDERED.

24
     Dated: 3/17/2006
25

26                                         /s/ David F. Levi
                                           HONORABLE DAVID F. LEVI
27                                         Chief Judge, United States District Court

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